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                          THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

ROBERT GONZALEZ,                                  )
                                                  )
        Plaintiff,                                )
                                                  )
v.                                                )                  Case No.: 1:18-cv-341
                                                  )
RAJESH PAVITHRAN, et al.,                         )
                                                  )
         Defendants.                              )

                     MOTION TO DISMISS PURSUANT TO RULE 12(b)(6)

        Pursuant to Fed. R. Civ. P. 12(b)(6), Defendants, Rajesh Pavithran ("Pavithran") and

Kelvin Boon, LLC ("Boon Tech"), by counsel, move to dismiss the Complaint.

        The Complaint fails to properly set forth sufficient facts to establish personal liability

against Pavithran. The Complaint fails to state a cause of action for breach of contract because the

proper elements of a contract have not been pled and the terms of the contract are not properly

identified. The fraud in the inducement claim must be dismissed as it has not been pled with

sufficient specificity.

        Court Three must be dismissed as Promissory Estoppel is not a recognized cause of action

in Virginia. The equitable causes of action contained in Court Four must also be dismissed because

there are improperly joined and the Plaintiff has alleged the existence of an express contract.

        The specific grounds for this Motion are set forth in the Memorandum of Law in support

of the Motion to Dismiss filed contemporaneously with this Motion.
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                                                     Respectfully submitted
                                                     RAJESH PAVITHRAN
                                                     KELVIN BOON LLC
                                                     By counsel

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of April 2018, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, and sent by first class mail, postage

prepaid copy of notice to the following:

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